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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF OHIO
                               WESTERN DIVISION

 COLONIAL LIFE AND ACCIDENT             :
 INSURANCE CO.,
              Plaintiff,
                                        :     Case No. 3:18-cv-74
        v.
                                              JUDGE WALTER H. RICE
 ESTATE OF DARRELL
 STEWART, et al.,                       :
              Defendants.




       AMENDED ORDER DIRECTING CLERK OF COURT TO DISTRIBUTE
       FUNDS ON DEPOSIT WITH THE COURT, PLUS ALL ACCRUED
       INTEREST, IN ACCORDANCE WITH JULY 23, 2019, DECISION
       AND ENTRY (DOC. #38)




       On June 23, 2020, the Sixth Circuit Court of Appeals issued a decision

affirming the district court’s order awarding Darrell Stewart’s life insurance

proceeds in equal parts to Defendants: (1) Garrett Stewart; (2) Taylor Stewart; (3)

Summer Reidenbach; and (4) Angel Hunter. Doc. #38.

      The Court previously directed the Clerk of Court to retain the life insurance

proceeds deposited in this interpleader action by Colonial Life and Accident

Insurance Company until the appeal was fully resolved. The Sixth Circuit issued its

mandate on July 15, 2020.
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      Accordingly, the Clerk of Court is now DIRECTED to distribute the funds on

deposit with the Court in this matter, plus all accrued interest, in accordance with

this Court’s July 23, 2019, Decision and Entry, Doc. #38.



                                                               (tp - per Judge Rice authorization after his review)
Date: October 2, 2020
                                       WALTER H. RICE
                                       UNITED STATES DISTRICT JUDGE




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